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                               UNITED STATES DISTRICT COURT
 10                           CENTRAL DISTRICT OF CALIFORNIA
 11                                 SOUTHERN DIVISION
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       TP-LINK USA CORPORATION,                 CASE NO.: 8:19-CV-00082-JLS-KES
 13
                 Plaintiff,
 14                                             Hon. Josephine L. Staton
           v.
 15                                             ORDER RE: JOINT STIPULATION
    CAREFUL SHOPPER, LLC, ADAM
 16 STARKE, SORA STARKE, and DOES               OF DISMISSAL
    1 through 10, inclusive,
 17
               Defendants.
 18
 19
       CAREFUL SHOPPER, LLC,
 20
                 Counterclaimant-
 21              Third-Party Plaintiff,
 22        v.
 23 TP-LINK USA NORTH AMERICA
    INC. and AUCTION BROTHERS, INC.
 24 dba AMAZZIA,
 25             Third-Party Defendants.
 26
 27
 28
                                                                   No. 8:19-CV-00082-JLS-KES
                                          {ATTORNEY1}
Case 8:19-cv-00082-JLS-KES Document 107 Filed 10/16/20 Page 2 of 2 Page ID #:2003



   1        The Court, having considered the JOINT STIPULATION OF DISMISSAL
   2 filed by Plaintiff TP-Link USA Corporation, Third-Party Defendant TP-Link North
   3 America, Inc., and Defendants Careful Shopper, LLC, Adam Starke and Sora Starke
   4 (collectively, the “Parties”), hereby ORDERS that:
   5        1. All claims and causes of action pending between the Parties in this action are
   6           hereby dismissed with prejudice pursuant to Fed. R. Civ. P. 41(a); and
   7        2. Each party shall bear its own costs and attorneys’ fees.
   8
   9 Dated: October 16, 2020
 10
 11
                                         JOSEPHINE L. STATON
 12
                                      Hon. Josephine L. Staton
 13                                   United States District Judge
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